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Case 3:22-cv-04978-TKW-ZCB Document 59 Filed 06/07/23 Page 1 of 3 wih: 3

IN THE US NORTHERN DISIRIC COURT OF
FLORIDA

Abdelaziz Ham, 99- 44x89

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